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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS

                                                  CIVIL ACTION NO.1:19-12158-ADB

    GREGORY FIRMIN,
                            Plaintiff.
    v.
    CITY OF BOSTON, OFFICER CARL
    NEMES, and OFFICER PAUL
    ROBERTSON
                      Defendants.


                STIPULATION OF DISMISSAL WITH PREJUDICE

         NOW COMES the Plaintiff, Gregory Firmin, and the Defendants, City of

Boston and Carl Nemes,1 in the above-referenced action and hereby stipulate and

agree pursuant to Fed. R. Civ. P. 41(a)(1)(ii) that all claims contained in the

Complaint are dismissed with prejudice and without costs and attorney’s fees, and

that all rights of appeal are waived.




1   Defendant Paul Robertson has not been served and has not appeared in the action.
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Respectfully Submitted,                         Dated: August 10, 2021



GREGORY FIRMIN                                  CITY OF BOSTON and CARL
                                                NEMES
/s/ Paul M. Glickman
________________________                        By their attorneys
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                          CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the CM/ECF system will be
sent electronically to the registered participants as identified on the Notice of
Electronic Filing and paper copies will be sent to those indicated as non-registered
participants on August 10, 2021



/s/Paul M. Glickman
Paul M. Glickman




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